Case 2:04-cr-20335-.]DB Document 47 Filed 06/22/05 Page 1 of 2 Page|D 48

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UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TEM$;B@ p;»; 13= | 3
WESTERN DIVISION

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UNITES STATES OF AMERICA,

Plaintiff,
v, Cr. No. 04-20335-B
JEREMY DOWDY,
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION
TO CONTINUE SUPPRESSION HEARING

 

For good cause shown, and without objection by the government, the Court hereby GRANTS

defendant’s motion to continue the suppression heating, currently set for Wednesday, June 22, 2005

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lt is so 0RDERED, this the § 04 day ofJune, 2005.

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H RABLE J. D}\NIEL BRETN
NIT D STATES DISTRICT coURT JUDGE

 

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Needurn Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

